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EXHIBIT 1 to EXHIBIT A

Substantive Duplicate Claims

RLF1 17227904v.1

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ENERGY FUTURE HOLDINGS CORP., et al.

FORTY-FIFTH OMNIBUS (SUBSTANTIVE): EXHIBIT 1 TO EXHIBIT A - Substantive Duplicate

CLAIM TO BE DISALLOWED REMAINING CLAIM
TOTAL TOTAL
DATE CASE CLAIM DATE CASE CLAIM REASON FOR
NAME FILED NUMBER CLAIM # AMOUNT NAME FILED NUMBER CLAIM # AMOUNT DISALLOWANCE
1 NICOL, GAVIN 04/12/2016 14-10979 37604 $15,900.00 | SPM FLOW 10/16/2014 14-10979 5435 $15,900.00 Claimed invoice in
ADDRESS ON (CSS) CONTROL, INC. (CSS) claim to be
FILE 601 WEIR WAY disallowed
FORT WORTH, TX appears to be
76108 included in the
remaining claim.
TOTAL $15,900.00

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EXHIBIT 2 to EXHIBIT A

No Liability Claims

RLFI 17227904v.1

ENERGY FUTURE HOLDINGS CORP. et al.

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FORTY-FIFTH OMNIBUS (SUBSTANTIVE): EXHIBIT 2 TO EXHIBIT A ~ No Liability Claims

CASE FILED TOTAL CLAIM REASON FOR PROPOSED
NAME NUMBER DEBTOR NAME DATE CLAIM # AMOUNT DISALLOWANCE
ALDINE INDEPENDENT SCHOOL 14-10979 ~—- Energy Future Holdings 06/11/2014 1773 $417.18 According to the Debtors’ books and
DISTRICT (CSS) Corp. records, Debtors are not liable for the
C/O TAX OFFICE asserted claim. The Debtors believe that
14909 ALDINE WESTFIELD ROAD liability, if any, is owed by a non-
HOUSTON, TX 77032 Debtor third-party.
ARKANSAS UNCLAIMED PROPERTY 14-10979 _—_— Energy Future Holdings 04/02/2015 10041 $2,390.81 The claim is for unclaimed property;
UNIT (CSS) Corp. however, the dormancy period had not
1401 WEST CAPITOL AVENUE expired as of the Petition Date and,
SUITE 325 therefore, the property does not escheat
LITTLE ROCK, AR 72201 to the state under applicable bankruptcy
law.

ARLINGTON INDEPENDENT SCHOOL 14-11040 =Luminant Mineral 05/09/2014 121 $41.21* Modified amount reflects adjustment
DISTRICT (CSS) Development Company for the part of the claim for which no
C/O PERDUE BRANDON FIELDER LLC liability is owed to claimant per a
COLLINS MOTT review of the claimant's Proof of Claim,
ATTIN: R. BRUCE MEDLEY the documents attached thereto, and a
P.O. BOX 13430 reasonable review of the Debtors' books
ARLINGTON, TX 76094-0430 and records.
ATMOS PIPELINE - TEXAS 14-10978 Texas Competitive Electric 09/30/2014 4774 Undetermined* According to the Debtors’ books and
A DIVISION OF ATMOS ENERGY (CSS) Holdings Company LLC records, Debtors are not liable for the
CORPORATION asserted claim. The claim asserted is on
C/O COWLES & THOMPSON, P.C. account of a guaranty, which has
901 MAIN STREET, SUITE 3900 expired,
DALLAS, TX 75202
ATMOS PIPELINE - TEXAS 14-10978 Texas Competitive Electric 09/30/2014 4775 Undetermined* According to the Debtors’ books and
A DIVISION OF ATMOS ENERGY (CSS) Holdings Company LLC records, Debtors are not liable for the

CORPORATION

C/O COWLES & THOMPSON, P.C.
901 MAIN STREET, SUITE 3900
DALLAS, TX 75202

' Claim 12 was modified 12/02/2016 by Debtors’ Seventh Notice Of Claims Satisfied In Full Or In Part (DI. 10302)

* - Indicates claim contains unliquidated and/or undetermined amounts

asserted claim. The claim asserted is on
account of an entitlement to draw on a
letter of credit, which is not property of
the Debtors' estate.

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ENERGY FUTURE HOLDINGS CORP.) et al.

FORTY-FIFTH OMNIBUS (SUBSTANTIVE): EXHIBIT 2 TO EXHIBIT A - No Liability Claims

CASE FILED TOTAL CLAIM REASON FOR PROPOSED
NAME NUMBER _ DEBTOR NAME DATE CLAIM # AMOUNT DISALLOWANCE

BANK OF NEW YORK MELLON TRUST 14-10980 = 4Change Energy Company 10/23/2014 6352 Undetermined* The claim is asserted on account of

CO,NA, THE (CSS) contingent claims for potential

C/O REED SMITH LLP indemnification in connection with the

ATTN: KURT F. GWYNNE, ESQ. claimant's former role as indenture

1201 N MARKET ST, STE 1500 trustee for several series of notes. Any

WILMINGTON, DE 19801 claims against the claimant that could
give rise to a claim against a Debtor for
indemnification were released under the
TCEH Plan. Therefore, no Debtor
liability for indemnification should
arise.

BANK OF NEW YORK MELLON TRUST 14-10981_  4Change Energy Holdings 10/23/2014 6353 Undetermined* The claim is asserted on account of

CO,NA, THE (CSS) LLC contingent claims for potential

C/O REED SMITH LLP indemnification in connection with the

ATTN: KURT F. GWYNNE, ESQ. claimant’s former role as indenture

1201 N MARKET ST, STE 1500 trustee for several series of notes. Any

WILMINGTON, DE 19801 claims against the claimant that could
give rise to a claim against a Debtor for
indemnification were released under the
TCEH Plan. Therefore, no Debtor
liability for indemnification should
arise.

BANK OF NEW YORK MELLON TRUST 14-10982. DeCordova Power 10/23/2014 6354 Undetermined* The claim is asserted on account of

CO,NA, THE (CSS) Company LLC contingent claims for potential

C/O REED SMITH LLP

ATTN: KURT F. GWYNNE, ESQ.
1201 N MARKET ST, STE 1500
WILMINGTON, DE 19801

* - Indicates claim contains unliquidated and/or undetermined amounts

indemnification in connection with the
claimant’s former role as indenture
trustee for several series of notes. Any
claims against the claimant that could
give rise to a claim against a Debtor for
indemnification were released under the
TCEH Plan. Therefore, no Debtor
liability for indemnification should
arise.

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ENERGY FUTURE HOLDINGS CORP. et al.

FORTY-FIFTH OMNIBUS (SUBSTANTIVE): EXHIBIT 2 TO EXHIBIT A - No Liability Claims

CASE FILED TOTAL CLAIM REASON FOR PROPOSED
NAME NUMBER DEBTOR NAME DATE CLAIM # AMOUNT DISALLOWANCE

9 BANK OF NEW YORK MELLON TRUST 14-10983 Big Brown 3 Power 10/23/2014 6355 Undetermined* The claim is asserted on account of
CO,NA, THE (CSS) Company LLC contingent claims for potential
C/O REED SMITH LLP indemnification in connection with the
ATTN: KURT F, GWYNNE, ESQ. claimant’s former role as indenture
1201 N MARKET ST, STE 1500 trustee for several series of notes. Any
WILMINGTON, DE 19801 claims against the claimant that could

give rise to a claim against a Debtor for
indemnification were released under the
TCEH Plan. Therefore, no Debtor
liability for indemnification should
arise.

10 BANK OF NEW YORK MELLON TRUST 14-10984 Eagle Mountain Power 10/23/2014 6356 Undetermined* The claim is asserted on account of
CO,NA, THE (CSS) Company LLC contingent claims for potential
C/O REED SMITH LLP indemnification in connection with the
ATTN: KURT F. GWYNNE, ESQ. claimant’s former role as indenture
1201 N MARKET ST, STE 1500 trustee for several series of notes. Any
WILMINGTON, DE 19801 claims against the claimant that could

give rise to a claim against a Debtor for
indemnification were released under the
TCEH Plan. Therefore, no Debtor
liability for indemnification should

arise.
11 BANK OF NEW YORK MELLON TRUST 14-10985 Tradinghouse Power 10/23/2014 6357 Undetermined* The claim is asserted on account of
CO,NA, THE (CSS) Company LLC contingent claims for potential
C/O REED SMITH LLP indemnification in connection with the
ATTN: KURT F. GWYNNE, ESQ. claimant’s former role as indenture
1201 N MARKET ST, STE 1500 trustee for several series of notes. Any
WILMINGTON, DE 19801 claims against the claimant that could

give rise to a claim against a Debtor for
indemnification were released under the
TCEH Plan. Therefore, no Debtor
liability for indemnification should
arise.

* - Indicates claim contains unliquidated and/or undetermined amounts Page 3 of 24

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ENERGY FUTURE HOLDINGS CORP., et al.

FORTY-FIFTH OMNIBUS (SUBSTANTIVE): EXHIBIT 2 TO EXHIBIT A - No Liability Claims

CASE FILED TOTAL CLAIM REASON FOR PROPOSED
NAME NUMBER DEBTOR NAME DATE CLAIM # AMOUNT DISALLOWANCE

12 BANK OF NEW YORK MELLON TRUST 14-10986 _—_— Big Brown Lignite 10/23/2014. 6358 Undetermined* The claim is asserted on account of
CO,NA, THE (CSS) Company LLC contingent claims for potential
C/O REED SMITH LLP indemnification in connection with the
ATTN: KURT F. GWYNNE, ESQ. claimant’s former role as indenture
1201 N MARKET ST, STE 1500 trustee for several series of notes. Any
WILMINGTON, DE 19801 claims against the claimant that could

give rise to a claim against a Debtor for
indemnification were released under the
TCEH Plan. Therefore, no Debtor
liability for indemnification should

arise.
13. BANK OF NEW YORK MELLON TRUST 14-10988 Big Brown Power Company _10/23/2014 6359 Undetermined* The claim is asserted on account of
CO,NA, THE (CSS) LLC contingent claims for potential
C/O REED SMITH LLP indemnification in connection with the
ATTN: KURT F. GWYNNE, ESQ. claimant’s former role as indenture
1201 N MARKET ST, STE 1500 trustee for several series of notes. Any
WILMINGTON, DE 19801 claims against the claimant that could

give rise to a claim against a Debtor for
indemnification were released under the
TCEH Plan. Therefore, no Debtor
liability for indemnification should

arise.
14 BANK OF NEW YORK MELLON TRUST 14-10997_  TXU Energy Retail 10/23/2014 6360 Undetermined* The claim is asserted on account of
CO,NA, THE (CSS) Company LLC contingent claims for potential
C/O REED SMITH LLP indemnification in connection with the
ATTN: KURT F. GWYNNE, ESQ. claimant's former role as indenture
1201 N MARKET ST, STE 1500 trustee for several series of notes. Any
WILMINGTON, DE 19801 claims against the claimant that could

give rise to a claim against a Debtor for
indemnification were released under the
TCEH Plan. Therefore, no Debtor
liability for indemnification should
arise.

* - Indicates claim contains unliquidated and/or undetermined amounts Page 4 of 24

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ENERGY FUTURE HOLDINGS CORP.) et al.

FORTY-FIFTH OMNIBUS (SUBSTANTIVE): EXHIBIT 2 TO EXHIBIT A ~ No Liability Claims

CASE FILED TOTAL CLAIM REASON FOR PROPOSED
NAME NUMBER _ DEBTOR NAME DATE CLAIM # AMOUNT DISALLOWANCE
15 BANK OF NEW YORK MELLON TRUST 14-10998 = Collin Power Company 10/23/2014 6361 Undetermined* The claim is asserted on account of
CO,NA, THE (CSS) LLC contingent claims for potential
C/O REED SMITH LLP indemnification in connection with the
ATTN: KURT F, GWYNNE, ESQ. claimant’s former role as indenture
1201 N MARKET ST, STE 1500 trustee for several series of notes. Any
WILMINGTON, DE 19801 claims against the claimant that could
give rise to a claim against a Debtor for
indemnification were released under the
TCEH Plan. Therefore, no Debtor
liability for indemnification should
arise.
16 BANK OF NEW YORK MELLON TRUST 14-11002 =TXU Energy Solutions 10/23/2014 6362 Undetermined* The claim is asserted on account of
CO,NA, THE (CSS) Company LLC contingent claims for potential
C/O REED SMITH LLP indemnification in connection with the
ATTN: KURT F. GWYNNE, ESQ. claimant’s former role as indenture
1201 N MARKET ST, STE 1500 trustee for several series of notes. Any
WILMINGTON, DE 19801 claims against the claimant that could
give rise to a claim against a Debtor for
indemnification were released under the
TCEH Plan. Therefore, no Debtor
liability for indemnification should
arise.
17 BANK OF NEW YORK MELLON TRUST 14-11003 DeCordova II Power 10/23/2014 6363 Undetermined* The claim is asserted on account of
CO,NA, THE (CSS) Company LLC contingent claims for potential

C/O REED SMITH LLP

ATTN: KURT F. GWYNNE, ESQ,
1201 N MARKET ST, STE 1500
WILMINGTON, DE 19801

*- Indicates claim contains unliquidated and/or undetermined amounts

indemnification in connection with the
claimant’s former role as indenture
trustee for several series of notes. Any
claims against the claimant that could
give rise to a claim against a Debtor for
indemnification were released under the
TCEH Plan. Therefore, no Debtor
liability for indemnification should
arise.

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ENERGY FUTURE HOLDINGS CORP., et al.

FORTY-FIFTH OMNIBUS (SUBSTANTIVE): EXHIBIT 2 TO EXHIBIT A - No Liability Claims

CASE FILED TOTAL CLAIM REASON FOR PROPOSED
NAME NUMBER DEBTOR NAME DATE CLAIM # AMOUNT DISALLOWANCE

18 BANK OF NEW YORK MELLON TRUST 14-11005 Energy Future Competitive 10/23/2014 6364 Undetermined* The claim is asserted on account of
CO,NA, THE (CSS) Holdings Company LLC contingent claims for potential
C/O REED SMITH LLP indemnification in connection with the
ATTN: KURT F, GWYNNE, ESQ. claimant’s former role as indenture
1201 N MARKET ST, STE 1500 trustee for several series of notes. Any
WILMINGTON, DE 19801 claims against the claimant that could

give rise to a claim against a Debtor for
indemnification were released under the
TCEH Plan. Therefore, no Debtor
liability for indemnification should

arise.
19 BANK OF NEW YORK MELLON TRUST 14-11009 + TXU Retail Services 10/23/2014 6365 Undetermined* The claim is asserted on account of
CO,NA, THE (CSS) Company contingent claims for potential
C/O REED SMITH LLP indemnification in connection with the
ATTN: KURT F. GWYNNE, ESQ. claimant's former role as indenture
1201 N MARKET ST, STE 1500 trustee for several series of notes. Any
WILMINGTON, DE 19801 claims against the claimant that could

give rise to a claim against a Debtor for
indemnification were released under the
TCEH Plan. Therefore, no Debtor
liability for indemnification should

arise.
20 BANK OF NEW YORK MELLON TRUST 14-11010 Martin Lake 4 Power 10/23/2014 6366 Undetermined* The claim is asserted on account of
CO,NA, THE (CSS) Company LLC contingent claims for potential
C/O REED SMITH LLP indemnification in connection with the
ATTN: KURT F. GWYNNE, ESQ. claimant's former role as indenture
1201 N MARKET ST, STE 1500 trustee for several series of notes. Any
WILMINGTON, DE 19801 claims against the claimant that could

give rise to a claim against a Debtor for
indemnification were released under the
TCEH Plan. Therefore, no Debtor
liability for indemnification should
arise.

*- Indicates claim contains unliquidated and/or undetermined amounts Page 6 of 24

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ENERGY FUTURE HOLDINGS CORP. et al.

FORTY-FIFTH OMNIBUS (SUBSTANTIVE): EXHIBIT 2 TO EXHIBIT A - No Liability Claims

CASE FILED TOTAL CLAIM REASON FOR PROPOSED
NAME NUMBER _ DEBTOR NAME DATE CLAIM # AMOUNT DISALLOWANCE
21 BANK OF NEW YORK MELLON TRUST 14-11011_ Monticello 4 Power 10/23/2014 6367 Undetermined* The claim is asserted on account of
CO,NA, THE (CSS) Company LLC contingent claims for potential
C/O REED SMITH LLP indemnification in connection with the
ATIN: KURT F. GWYNNE, ESQ. claimant’s former role as indenture
1201 N MARKET ST, STE 1500 trustee for several series of notes. Any
WILMINGTON, DE 19801 claims against the claimant that could
give rise to a claim against a Debtor for
indemnification were released under the
TCEH Plan. Therefore, no Debtor
liability for indemnification should
arise.
22 BANK OF NEW YORK MELLON TRUST 14-11013 | TXU SEM Company 10/23/2014 6368 Undetermined* The claim is asserted on account of
CO,NA, THE (CSS) contingent claims for potential
C/O REED SMITH LLP indemnification in connection with the
ATTN: KURT F. GWYNNE, ESQ. claimant's former role as indenture
1201 N MARKET ST, STE 1500 trustee for several series of notes, Any
WILMINGTON, DE 19801 claims against the claimant that could
give rise to a claim against a Debtor for
indemnification were released under the
TCEH Plan. Therefore, no Debtor
liability for indemnification should
arise.
23 BANK OF NEW YORK MELLON TRUST 14-11014 =Morgan Creek 7 Power 10/23/2014 6369 Undetermined* The claim is asserted on account of
CO,NA, THE (CSS) Company LLC contingent claims for potential

C/O REED SMITH LLP

ATTN: KURT F. GWYNNE, ESQ.
1201 N MARKET ST, STE 1500
WILMINGTON, DE 19801

* - Indicates claim contains unliquidated and/or undetermined amounts

indemnification in connection with the
claimant’s former role as indenture
trustee for several series of notes. Any
claims against the claimant that could
give rise to a claim against a Debtor for
indemnification were released under the
TCEH Plan. Therefore, no Debtor
liability for indemnification should
arise,

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ENERGY FUTURE HOLDINGS CORP. et al.

FORTY-FIFTH OMNIBUS (SUBSTANTIVE): EXHIBIT 2 TO EXHIBIT A - No Liability Claims

CASE FILED TOTAL CLAIM REASON FOR PROPOSED
NAME NUMBER DEBTOR NAME DATE CLAIM # AMOUNT DISALLOWANCE
24 BANK OF NEW YORK MELLON TRUST 14-11015 Valley NG Power Company —_ 10/23/2014 6370 Undetermined* The claim is asserted on account of
CO,NA, THE (CSS) LLC contingent claims for potential
C/O REED SMITH LLP indemnification in connection with the
ATTN: KURT F. GWYNNE, ESQ. claimant’s former role as indenture
1201 N MARKET ST, STE 1500 trustee for several series of notes. Any
WILMINGTON, DE 19801 claims against the claimant that could
give rise to a claim against a Debtor for
indemnification were released under the
TCEH Plan. Therefore, no Debtor
liability for indemnification should
arise,
25 BANK OF NEW YORK MELLON TRUST 14-11018 Luminant Big Brown 10/23/2014 6371 Undetermined* The claim is asserted on account of
CO,NA, THE (CSS) Mining Company LLC contingent claims for potential
C/O REED SMITH LLP indemnification in connection with the
ATTN: KURT F. GWYNNE, ESQ. claimant’s former role as indenture
1201 N MARKET ST, STE 1500 trustee for several series of notes. Any
WILMINGTON, DE 19801 claims against the claimant that could
give rise to a claim against a Debtor for
indemnification were released under the
TCEH Plan. Therefore, no Debtor
liability for indemnification should
arise.
26 BANK OF NEW YORK MELLON TRUST 14-11019 NCA Resources 10/23/2014 6372 Undetermined* The claim is asserted on account of
CO,NA, THE (CSS) Development Company contingent claims for potential

C/O REED SMITH LLP

ATTN: KURT F. GWYNNE, ESQ.
1201 N MARKET ST, STE 1500
WILMINGTON, DE 19801

LLC

* - Indicates claim contains unliquidated and/or undetermined amounts

indemnification in connection with the
claimant’s former role as indenture
trustee for several series of notes. Any
claims against the claimant that could
give rise to a claim against a Debtor for
indemnification were released under the
TCEH Plan. Therefore, no Debtor
liability for indemnification should
arise.

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ENERGY FUTURE HOLDINGS CORP. et al.

FORTY-FIFTH OMNIBUS (SUBSTANTIVE): EXHIBIT 2 TO EXHIBIT A - No Liability Claims

CASE FILED TOTAL CLAIM REASON FOR PROPOSED
NAME NUMBER DEBTOR NAME DATE CLAIM # AMOUNT DISALLOWANCE
27 BANK OF NEW YORK MELLON TRUST 14-11020 = Valley Power Company 10/23/2014 6373 Undetermined* The claim is asserted on account of
CO,NA, THE (CSS) LLC contingent claims for potential
C/O REED SMITH LLP indemnification in connection with the
ATTN: KURT F. GWYNNE, ESQ. claimant’s former role as indenture
1201 N MARKET ST, STE 1500 trustee for several series of notes. Any
WILMINGTON, DE 19801 claims against the claimant that could
give rise to a claim against a Debtor for
indemnification were released under the
TCEH Plan. Therefore, no Debtor
liability for indemnification should
arise.
28 BANK OF NEW YORK MELLON TRUST 14-11021_ Generation MT Company 10/23/2014 6374 Undetermined* The claim is asserted on account of
CO,NA, THE (CSS) LLC contingent claims for potential
C/O REED SMITH LLP indemnification in connection with the
ATTN: KURT F, GWYNNE, ESQ. claimant’s former role as indenture
1201 N MARKET ST, STE 1500 trustee for several series of notes. Any
WILMINGTON, DE 19801 claims against the claimant that could
give rise to a claim against a Debtor for
indemnification were released under the
TCEH Plan. Therefore, no Debtor
liability for indemnification should
arise.
29 BANK OF NEW YORK MELLON TRUST 14-11022, Oak Grove Management 10/23/2014 6375 Undetermined* The claim is asserted on account of
CO,NA, THE (CSS) Company LLC contingent claims for potential

C/O REED SMITH LLP

ATTN: KURT FE. GWYNNE, ESQ.
1201 N MARKET ST, STE 1500
WILMINGTON, DE 19801

*- Indicates claim contains unliquidated and/or undetermined amounts

indemnification in connection with the
claimant's former role as indenture
trustee for several series of notes. Any
claims against the claimant that could
give rise to a claim against a Debtor for
indemnification were released under the
TCEH Plan. Therefore, no Debtor
liability for indemnification should
arise.

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ENERGY FUTURE HOLDINGS CORP.) et al.

FORTY-FIFTH OMNIBUS (SUBSTANTIVE): EXHIBIT 2 TO EXHIBIT A - No Liability Claims

CASE FILED TOTAL CLAIM REASON FOR PROPOSED
NAME NUMBER DEBTOR NAME DATE CLAIM # AMOUNT DISALLOWANCE

30 BANK OF NEW YORK MELLON TRUST 14-11023.  Luminant Energy Company —_ 10/23/2014 6376 Undetermined* The claim is asserted on account of
CO,NA, THE (CSS) LLC contingent claims for potential
C/O REED SMITH LLP indemnification in connection with the
ATTN: KURT F, GWYNNE, ESQ. claimant's former role as indenture
1201 N MARKET ST, STE 1500 trustee for several series of notes. Any
WILMINGTON, DE 19801 claims against the claimant that could

give rise to a claim against a Debtor for
indemnification were released under the
TCEH Plan. Therefore, no Debtor
liability for indemnification should

arise.
31 BANK OF NEW YORK MELLON TRUST 14-11024 Oak Grove Mining 10/23/2014 6377 Undetermined* The claim is asserted on account of
CO,NA, THE (CSS) Company LLC contingent claims for potential
C/O REED SMITH LLP indemnification in connection with the
ATTN: KURT F. GWYNNE, ESQ. claimant's former role as indenture
1201 N MARKET ST, STE 1500 trustee for several series of notes. Any
WILMINGTON, DE 19801 claims against the claimant that could

give rise to a claim against a Debtor for
indemnification were released under the
TCEH Plan. Therefore, no Debtor
liability for indemnification should

arise.
32 BANK OF NEW YORK MELLON TRUST 14-11025 Generation SVC Company 10/23/2014 6378 Undetermined* The claim is asserted on account of
CO,NA, THE (CSS) contingent claims for potential
C/O REED SMITH LLP indemnification in connection with the
ATTN: KURT F. GWYNNE, ESQ. claimant’s former role as indenture
1201 N MARKET ST, STE 1500 trustee for several series of notes. Any
WILMINGTON, DE 19801 claims against the claimant that could

give rise to a claim against a Debtor for
indemnification were released under the
TCEH Plan. Therefore, no Debtor
liability for indemnification should
arise.

*- Indicates claim contains unliquidated and/or undetermined amounts Page 10 of 24

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ENERGY FUTURE HOLDINGS CORP, et al.

FORTY-FIFTH OMNIBUS (SUBSTANTIVE): EXHIBIT 2 TO EXHIBIT A - No Liability Claims

CASE FILED TOTAL CLAIM REASON FOR PROPOSED
NAME NUMBER | DEBTOR NAME DATE CLAIM # AMOUNT DISALLOWANCE
33. BANK OF NEW YORK MELLON TRUST 14-11026 —Luminant Energy Trading 10/23/2014 6379 Undetermined* The claim is asserted on account of
CO,NA, THE (CSS) California Company contingent claims for potential
C/O REED SMITH LLP indemnification in connection with the
ATTN: KURT F. GWYNNE, ESQ. claimant’s former role as indenture
1201 N MARKET ST, STE 1500 trustee for several series of notes. Any
WILMINGTON, DE 19801 claims against the claimant that could
give rise to a claim against a Debtor for
indemnification were released under the
TCEH Plan. Therefore, no Debtor
liability for indemnification should
arise.
34 BANK OF NEW YORK MELLON TRUST 14-11027 Oak Grove Power Company 10/23/2014 6380 Undetermined* The claim is asserted on account of
CO,NA, THE (CSS) LLC contingent claims for potential
C/O REED SMITH LLP indemnification in connection with the
ATTN: KURT F. GWYNNE, ESQ. claimant's former role as indenture
1201 N MARKET ST, STE 1500 trustee for several series of notes. Any
WILMINGTON, DE 19801 claims against the claimant that could
give rise to a claim against a Debtor for
indemnification were released under the
TCEH Plan. Therefore, no Debtor
liability for indemnification should
arise.
35 BANK OF NEW YORK MELLON TRUST 14-11029 Lake Creek 3 Power 10/23/2014 6381 Undetermined* The claim is asserted on account of
CO,NA, THE (CSS) Company LLC contingent claims for potential

C/O REED SMITH LLP

ATTN: KURT F. GWYNNE, ESQ.
1201 N MARKET ST, STE 1500
WILMINGTON, DE 19801

*- Indicates claim contains unliquidated and/or undetermined amounts

indemnification in connection with the
claimant’s former role as indenture
trustee for several series of notes. Any
claims against the claimant that could
give rise to a claim against a Debtor for
indemnification were released under the
TCEH Plan. Therefore, no Debtor
liability for indemnification should
arise,

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ENERGY FUTURE HOLDINGS CORP. et al.

FORTY-FIFTH OMNIBUS (SUBSTANT IVE): EXHIBIT 2 TO EXHIBIT A - No Liability Claims

CASE FILED TOTAL CLAIM REASON FOR PROPOSED
NAME NUMBER _ DEBTOR NAME DATE CLAIM # AMOUNT DISALLOWANCE

36 BANK OF NEW YORK MELLON TRUST 14-11030 =Luminant ET Services 10/23/2014 6382 Undetermined* The claim is asserted on account of
CO,NA, THE (CSS) Company contingent claims for potential
C/O REED SMITH LLP indemnification in connection with the
ATTN: KURT F. GWYNNE, ESQ. claimant's former role as indenture
1201 N MARKET ST, STE 1500 trustee for several series of notes. Any
WILMINGTON, DE 19801 claims against the claimant that could

give rise to a claim against a Debtor for
indemnification were released under the
TCEH Plan. Therefore, no Debtor
liability for indemnification should

arise.
37 BANK OF NEW YORK MELLON TRUST 14-11032. Luminant Generation 10/23/2014 6383 Undetermined* The claim is asserted on account of
CO,NA, THE (CSS) Company LLC contingent claims for potential
C/O REED SMITH LLP indemnification in connection with the
ATTN: KURT F. GWYNNE, ESQ. claimant’s former role as indenture
1201 N MARKET ST, STE 1500 trustee for several series of notes. Any
WILMINGTON, DE 19801 claims against the claimant that could

give rise to a claim against a Debtor for
indemnification were released under the
TCEH Plan. Therefore, no Debtor
liability for indemnification should

arise.
38 BANK OF NEW YORK MELLON TRUST 14-11033_  Sandow Power Company 10/23/2014 6384 Undetermined* The claim is asserted on account of
CO,NA, THE (CSS) LLC contingent claims for potential
C/O REED SMITH LLP indemnification in connection with the
ATTN: KURT F. GWYNNE, ESQ. claimant's former role as indenture
1201 N MARKET ST, STE 1500 trustee for several series of notes. Any
WILMINGTON, DE 19801 claims against the claimant that could

give rise to a claim against a Debtor for
indemnification were released under the
TCEH Plan. Therefore, no Debtor
liability for indemnification should
arise.

* - Indicates claim contains unliquidated and/or undetermined amounts Page 12 of 24

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ENERGY FUTURE HOLDINGS CORP., et al.

FORTY-FIFTH OMNIBUS (SUBSTANTIVE): EXHIBIT 2 TO EXHIBIT A - No Liability Claims

CASE FILED TOTAL CLAIM REASON FOR PROPOSED
NAME NUMBER _ DEBTOR NAME DATE CLAIM # AMOUNT DISALLOWANCE
39 BANK OF NEW YORK MELLON TRUST 14-11037.  Luminant Holding 10/23/2014 6385 Undetermined* The claim is asserted on account of
CO,NA, THE (CSS) Company LLC contingent claims for potential
C/O REED SMITH LLP indemnification in connection with the
ATTN: KURT F. GWYNNE, ESQ. claimant’s former role as indenture
1201 N MARKET ST, STE 1500 trustee for several series of notes. Any
WILMINGTON, DE 19801 claims against the claimant that could
give rise to a claim against a Debtor for
indemnification were released under the
TCEH Plan. Therefore, no Debtor
liability for indemnification should
arise.
40 BANK OF NEW YORK MELLON TRUST 14-11040 ~=Luminant Mineral 10/23/2014 6386 Undetermined* The claim is asserted on account of
CO,NA, THE (CSS) Development Company contingent claims for potential
C/O REED SMITH LLP LLC indemnification in connection with the
ATTN: KURT F. GWYNNE, ESQ. claimant’s former role as indenture
1201 N MARKET ST, STE 1500 trustee for several series of notes. Any
WILMINGTON, DE 19801 claims against the claimant that could
give rise to a claim against a Debtor for
indemnification were released under the
TCEH Plan. Therefore, no Debtor
liability for indemnification should
arise.
41 BANK OF NEW YORK MELLON TRUST 14-11042) = Luminant Mining 10/23/2014 6387 Undetermined* The claim is asserted on account of
CO,NA, THE (CSS) Company LLC contingent claims for potential

C/O REED SMITH LLP

ATTN: KURT F. GWYNNE, ESQ.
1201 N MARKET ST, STE 1500
WILMINGTON, DE 19801

* - Indicates claim contains unliquidated and/or undetermined amounts

indemnification in connection with the
claimant’s former role as indenture
trustee for several series of notes. Any
claims against the claimant that could
give rise to a claim against a Debtor for
indemnification were released under the
TCEH Plan. Therefore, no Debtor
liability for indemnification should
arise.

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ENERGY FUTURE HOLDINGS CORP. et al.

FORTY-FIFTH OMNIBUS (SUBSTANTIVE): EXHIBIT 2 TO EXHIBIT A - No Liability Claims

CASE FILED TOTAL CLAIM REASON FOR PROPOSED
NAME NUMBER DEBTOR NAME DATE CLAIM # AMOUNT DISALLOWANCE

42 BANK OF NEW YORK MELLON TRUST 14-11044 Luminant Renewables 10/23/2014 6388 Undetermined* The claim is asserted on account of
CO,NA, THE (CSS) Company LLC contingent claims for potential
C/O REED SMITH LLP indemnification in connection with the
ATTN: KURT F. GWYNNE, ESQ. claimant's former role as indenture
1201 N MARKET ST, STE 1500 trustee for several series of notes. Any
WILMINGTON, DE 19801 claims against the claimant that could

give rise to a claim against a Debtor for
indemnification were released under the
TCEH Plan. Therefore, no Debtor
liability for indemnification should

arise.
43 BANK OF NEW YORK MELLON TRUST 14-11046 Tradinghouse 3 & 4 Power 10/23/2014 6389 Undetermined* The claim is asserted on account of
CO,NA, THE (CSS) Company LLC contingent claims for potential
C/O REED SMITH LLP indemnification in connection with the
ATTN: KURT F. GWYNNE, ESQ. claimant’s former role as indenture
1201 N MARKET ST, STE 1500 trustee for several series of notes. Any
WILMINGTON, DE 19801 claims against the claimant that could

give rise to a claim against a Debtor for
indemnification were released under the
TCEH Plan. Therefore, no Debtor
liability for indemnification should

arise.
44 BANK OF NEW YORK MELLON TRUST 14-10978 Texas Competitive Electric 10/23/2014 6390 Undetermined* The claim is asserted on account of
CO,NA, THE (CSS) Holdings Company LLC contingent claims for potential
C/O REED SMITH LLP indemnification in connection with the
ATTN: KURT F. GWYNNE, ESQ. claimant's former role as indenture
1201 N MARKET ST, STE 1500 trustee for several series of notes. Any
WILMINGTON, DE 19801 claims against the claimant that could

give rise to a claim against a Debtor for
indemnification were released under the
TCEH Plan. Therefore, no Debtor
liability for indemnification should
arise.

*- Indicates claim contains unliquidated and/or undetermined amounts Page 14 of 24

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ENERGY FUTURE HOLDINGS CORP. et al.

FORTY-FIFTH OMNIBUS (SUBSTANTIVE): EXHIBIT 2 TO EXHIBIT A - No Liability Claims

CASE FILED TOTAL CLAIM REASON FOR PROPOSED
NAME NUMBER _ DEBTOR NAME DATE CLAIM # AMOUNT DISALLOWANCE

45 BANK OF NEW YORK MELLON TRUST 14-10978 Texas Competitive Electric 10/23/2014 6391 Undetermined* The claim is asserted on account of
CO,NA, THE (CSS) Holdings Company LLC contingent claims for potential
C/O REED SMITH LLP indemnification in connection with the
ATTN: KURT F. GWYNNE, ESQ. claimant’s former role as indenture
1201 N MARKET ST, STE 1500 trustee for several series of notes. Any
WILMINGTON, DE 19801 claims against the claimant that could

give rise to a claim against a Debtor for
indemnification were released under the
TCEH Plan. Therefore, no Debtor
liability for indemnification should

arise.
46 BANK OF NEW YORK MELLON TRUST 14-11028 | TCEH Finance, Inc. 10/23/2014 6392 Undetermined* The claim is asserted on account of
CO,NA, THE (CSS) contingent claims for potential
C/O REED SMITH LLP indemnification in connection with the
ATTN: KURT F. GWYNNE, ESQ. claimant’s former role as indenture
1201 N MARKET ST, STE 1500 trustee for several series of notes. Any
WILMINGTON, DE 19801 claims against the claimant that could

give rise to a claim against a Debtor for
indemnification were released under the
TCEH Plan. Therefore, no Debtor
liability for indemnification should

arise.
47 BANK OF NEW YORK MELLON TRUST 14-10978 Texas Competitive Electric 10/23/2014 6393 Undetermined* The claim is asserted on account of
CO,NA, THE (CSS) Holdings Company LLC contingent claims for potential
C/O REED SMITH LLP indemnification in connection with the
ATTN: KURT F. GWYNNE, ESQ. claimant's former role as indenture
1201 N MARKET ST, STE 1500 trustee for several series of notes. Any
WILMINGTON, DE 19801 claims against the claimant that could

give rise to a claim against a Debtor for
indemnification were released under the
TCEH Plan. Therefore, no Debtor
liability for indemnification should
arise.

*- Indicates claim contains unliquidated and/or undetermined amounts Page 15 of 24

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ENERGY FUTURE HOLDINGS CORP., et al.

FORTY-FIFTH OMNIBUS (SUBSTANT IVE): EXHIBIT 2 TO EXHIBIT A - No Liability Claims

CASE FILED TOTAL CLAIM REASON FOR PROPOSED
NAME NUMBER DEBTOR NAME DATE CLAIM # AMOUNT DISALLOWANCE

48 BANK OF NEW YORK MELLON TRUST 14-11028 TCEH Finance, Inc. 10/23/2014 6394 Undetermined* The claim is asserted on account of
CO,NA, THE (CSS) contingent claims for potential
C/O REED SMITH LLP indemnification in connection with the
ATTN: KURT F, GWYNNE, ESQ. claimant’s former role as indenture
1201 N MARKET ST, STE 1500 trustee for several series of notes. Any
WILMINGTON, DE 19801 claims against the claimant that could

give rise to a claim against a Debtor for
indemnification were released under the
TCEH Plan. Therefore, no Debtor
liability for indemnification should

arise.
49 BANK OF NEW YORK MELLON TRUST 14-10978 Texas Competitive Electric 10/23/2014 6395 Undetermined* The claim is asserted on account of
CO,NA, THE (CSS) Holdings Company LLC contingent claims for potential
C/O REED SMITH LLP indemnification in connection with the
ATIN: KURT F. GWYNNE, ESQ. claimant’s former role as indenture
1201 N MARKET ST, STE 1500 trustee for several series of notes. Any
WILMINGTON, DE 19801 claims against the claimant that could

give rise to a claim against a Debtor for
indemnification were released under the
TCEH Plan. Therefore, no Debtor
liability for indemnification should

arise.
50 BANK OF NEW YORK MELLON TRUST 14-11028 TCEH Finance, Inc. 10/23/2014 6396 Undetermined* The claim is asserted on account of
CO,NA, THE (CSS) contingent claims for potential
C/O REED SMITH LLP indemnification in connection with the
ATIN: KURT F. GWYNNE, ESQ. claimant's former role as indenture
1201 N MARKET ST, STE 1500 trustee for several series of notes. Any
WILMINGTON, DE 19801 claims against the claimant that could

give rise to a claim against a Debtor for
indemnification were released under the
TCEH Plan. Therefore, no Debtor
liability for indemnification should
arise.

*- Indicates claim contains unliquidated and/or undetermined amounts Page 16 of 24

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ENERGY FUTURE HOLDINGS CORP., et al.

FORTY-FIFTH OMNIBUS (SUBSTANTIVE): EXHIBIT 2 TO EXHIBIT A - No Liability Claims

CASE FILED TOTAL CLAIM REASON FOR PROPOSED
NAME NUMBER DEBTOR NAME DATE CLAIM # AMOUNT DISALLOWANCE

51 BANK OF NEW YORK MELLON TRUST 14-11005 Energy Future Competitive 10/23/2014 6407 Undetermined* The claim is asserted on account of
CO,NA, THE (CSS) Holdings Company LLC contingent claims for potential
C/O REED SMITH LLP indemnification in connection with the
ATTN: KURT F. GWYNNE, ESQ. claimant’s former role as indenture
1201 N MARKET ST, STE 1500 trustee for several series of notes. Any
WILMINGTON, DE 19801 claims against the claimant that could

give rise to a claim against a Debtor for
indemnification were released under the
TCEH Plan. Therefore, no Debtor
liability for indemnification should

arise.
52 BANK OF NEW YORK MELLON TRUST 14-11005 Energy Future Competitive 10/23/2014 6408 Undetermined* The claim is asserted on account of
CO,NA, THE (CSS) Holdings Company LLC contingent claims for potential
C/O REED SMITH LLP indemnification in connection with the
ATIN: KURT F. GWYNNE, ESQ. claimant’s former role as indenture
1201 N MARKET ST, STE 1500 trustee for several series of notes. Any
WILMINGTON, DE 19801 claims against the claimant that could

give rise to a claim against a Debtor for
indemnification were released under the
TCEH Plan. Therefore, no Debtor
liability for indemnification should

arise.
53 BANK OF NEW YORK MELLON TRUST 14-11005 Energy Future Competitive 10/23/2014 6410 Undetermined* The claim is asserted on account of
CO,NA, THE (CSS) Holdings Company LLC contingent claims for potential
C/O REED SMITH LLP indemnification in connection with the
ATTN: KURT F. GWYNNE, ESQ. claimant’s former role as indenture
1201 N MARKET ST, STE 1500 trustee for several series of notes. Any
WILMINGTON, DE 19801 claims against the claimant that could

give rise to a claim against a Debtor for
indemnification were released under the
TCEH Plan. Therefore, no Debtor
liability for indemnification should
arise.

* - Indicates claim contains unliquidated and/or undetermined amounts Page 17 of 24

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ENERGY FUTURE HOLDINGS CORP. et al.

FORTY-FIFTH OMNIBUS (SUBSTANTIVE): EXHIBIT 2 TO EXHIBIT A - No Liability Claims

CASE FILED TOTAL CLAIM REASON FOR PROPOSED
NAME NUMBER _ DEBTOR NAME DATE CLAIM # AMOUNT DISALLOWANCE

54 BANK OF NEW YORK MELLON, THE, 14-11032_ = Luminant Generation 10/14/2014 5261 Undetermined* The claim is a contingent claim for
TTEE UNDER (CSS) Company LLC unpaid fees, expenses, and other charges
NUCLEAR DECOMMISSIONING under the Amended and Restated
TRUST AGREEMENT Nuclear Decommissioning Trust
ATTN: AMY M. TONTI, ESQ. Agreement, dated January 1, 2002.
REED SMITH CENTER 225 FIFTH AVE According to the Debtors’ books and
STE 1200 records, there are no outstanding
PITTSBURGH, PA 15222 prepetition amounts owed under the

Trust Agreement and that any amounts
that accrued postpetition are being paid
in accordance with the terms of the trust
agreement, which was assumed by the

Debtors.

55 BLACKWELL INDEPENDENT SCHOOL 14-10996 —EFH Corporate Services 11/02/2015 12911 $79.94 According to the Debtors’ books and
DISTRICT (CSS) Company records, Debtors are not liable for the
C/O PERDUE BRANDON FIELDER asserted claim. Claim is on account of
COLLINS MOTT penalties and interest that have since
ATTN: ELIZABETH BANDA CALVO been removed by the claimant.
500 EAST BORDER ST., SUITE 640
ARLINGTON, TX 76010

56 CALIFORNIA FRANCHISE TAX BOARD 14-11026 ~~ Luminant Energy Trading 06/27/2016 37623 $0.00 No liability owed to claimant per
P.O. BOX 2952 (CSS) California Company Debtors' books and records. Claimant
SACRAMENTO, CA 95812-2952 does not appear to assert a claim.

57 CARROLL INDEPENDENT SCHOOL 14-10996 —_ EFH Corporate Services 05/14/2014 59 $0.62* No liability owed to claimant per a
DISTRICT (CSS) Company review of the claimant’s Proof of Claim,
C/O PERDUE BRANDON FIELDER the documents attached thereto, and a
COLLINS MOTT reasonable review of the Debtors' books
ATTN: R. BRUCE MEDLEY and records.
P.O. BOX 13430

ARLINGTON, TX 76094-0430

* - Indicates claim contains unliquidated and/or undetermined amounts Page 18 of 24

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ENERGY FUTURE HOLDINGS CORP. et al.

FORTY-FIFTH OMNIBUS (SUBSTANTIVE): EXHIBIT 2 TO EXHIBIT A - No Liability Claims

CASE FILED TOTAL CLAIM REASON FOR PROPOSED
NAME NUMBER DEBTOR NAME DATE CLAIM # AMOUNT DISALLOWANCE

58 CITY OF SULPHUR SPRINGS 14-10996 —_ EFH Corporate Services 09/28/2015 11827 $4,920.43* According to the Debtors’ books and
C/O LINEBARGER GOGGAN BLAIR (CSS) Company records, Debtors are not liable for the
SAMPSON LLP asserted claim. The Debtors believe that
ATTN: ELIZABETH WELLER liability, if any, is owed by a non-

2777 N. STEMMONS FREEWAY, SUITE Debtor third-party.
1000
DALLAS, TX 75207

59 CITY OF SWEETWATER 14-10996 — EFH Corporate Services 11/02/2015 12913 $1,146.72 According to the Debtors’ books and
C/O PERDUE BRANDON FIELDER (CSS) Company records, Debtors are not liable for the
COLLINS MOTT asserted claim. A portion of the claim is
ATTN: ELIZABETH BANDA CALVO on account of penalties and interest that
500 EAST BORDER ST., SUITE 640 have since been removed by the
ARLINGTON, TX 76010 claimant. Concerning the remaining

portion, the Debtors believe that the
liability, if any, is owed by a non-
Debtor entity, Oncor Electric Delivery
Company LLC.

60 COMMONWEALTH OF VIRGINIA 14-10979__—_— Energy Future Holdings 10/23/2014 6351 Undetermined* The claim is for unclaimed property;
DEPARTMENT OF THE TREASURY (CSS) Corp. however, the dormancy period had not
DIVISION OF UNCLAIMED PROPERTY expired as of the Petition Date and,

PO BOX 2478 therefore, the property does not escheat
RICHMOND, VA 23218-2478 to the state under applicable bankruptcy
law.

61 COUNTY OF TITUS, TEXAS 14-11032 Luminant Generation 06/26/2014 2608 2 $2,904.01* Modified amount reflects adjustment
ATTN: TIM R. TAYLOR, ATTORNEY (CSS) Company LLC for the part of the claim for which,

P.O. BOX 1212
MOUNT PLEASANT, TX 75456-1212

* Claim 2608 was modified 12/02/2016 by Debtors’ Seventh Notice Of Claims Satisfied In Full Or In Part (DI. 10302)

* - Indicates claim contains unliquidated and/or undetermined amounts

according to the Debtors’ books and
records, Debtors are not liable; the
Debtors believe that liability, if any, is
owed by a non-Debtor entity, Oncor
Electric Delivery Company LLC.

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ENERGY FUTURE HOLDINGS CORP., et al.

FORTY-FIFTH OMNIBUS (SUBSTANTIVE): EXHIBIT 2 TO EXHIBIT A - No Liability Claims

CASE FILED TOTAL CLAIM REASON FOR PROPOSED
NAME NUMBER _ DEBTOR NAME DATE CLAIM # AMOUNT DISALLOWANCE

62 CUMMINS FAMILY TRUST, THE 14-11042 Luminant Mining 10/16/2014 5437 $52,454.00 According to the Debtors’ books and
4106 HONEYCOMB ROCK CIRCLE (CSS) Company LLC records, the Debtors are not liable for
AUSTIN, TX 78731-2016 the asserted claim for royalties for

excess lignite mined because the
Debtors have not mined any excess
lignite. Therefore, the Claimant had no
existing right to payment as of the
TCEH Effective Date for royalties
pursuant to the applicable deed. Any
future royalties due under the terms of
the deed shall be paid pursuant to the
terms thereof.

63 DELAWARE TRUST COMPANY 14-10978 Texas Competitive Electric 10/23/2014 6198 $3,797,798.04* According to the Debtors’ books and
F/K/A CSC TRUST COMPANY OF (CSS) Holdings Company LLC records, Debtors are not liable for the
DELAWARE obligations described in the proof of
ATTN: JAMES S. CARR, BENJAMIN D. claim. The Debtors believe that liability,
FEDER if any, is owed by a non-Debtor third-
101 PARK AVENUE party, pursuant to the terms of that
NEW YORK, NY 10178 certain Trust Indenture, Security

Agreement and Mortgage, dated as of
December 1, 1987 and the Participation
Agreement, dated as of December 1,
1987.

64 DELAWARE TRUST COMPANY 14-10978 Texas Competitive Electric 10/23/2014 6199 $25,467,419.53* According to the Debtors’ books and
F/K/A CSC TRUST COMPANY OF (CSS) Holdings Company LLC records, Debtors are not liable for the

DELAWARE

ATTN: JAMES S. CARR, BENJAMIN D.

FEDER
101 PARK AVENUE
NEW YORK, NY 10178

* - Indicates claim contains unliquidated and/or undetermined amounts

obligations described in the proof of
claim. The Debtors believe that liability,
if any, is owed by a non-Debtor third-
party, pursuant to the terms of that
certain Trust Indenture, Security
Agreement and Mortgage, dated as of
December 1, 1989 and the Participation
Agreement, dated as of December 1,
1989,

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ENERGY FUTURE HOLDINGS CORP. et al.

FORTY-FIFTH OMNIBUS (SUBSTANTIVE): EXHIBIT 2 TO EXHIBIT A - No Liability Claims

CASE FILED TOTAL CLAIM REASON FOR PROPOSED
NAME NUMBER DEBTOR NAME DATE CLAIM # AMOUNT DISALLOWANCE

65 EAGLE MOUNTAIN-SAGINAW ISD 14-11040 Luminant Mineral 03/24/2015 10036 3 $273.00 Modified amount reflects adjustment
C/O PERDUE BRANDON FIELDER (CSS) Development Company for the part of the claim for which,
COLLINS MOTT LLC according to the Debtors’ books and
ATTN: ELIZABETH BANDA CALVO records, Debtors are not liable. Debtors
500 EAST BORDER ST, SUITE 640 believe that liability, if any, is owed by
ARLINGTON, TX 76010 a non-Debtor entity.

66 GREAT IOWA TREASURE HUNT 14-10979 —_ Energy Future Holdings 09/04/2014 4120 Undetermined* The claim is for unclaimed property;
LUCAS STATE OFFICE BUILDING (CSS) Corp. however, the dormancy period had not
ATTN: KATHRYN FEHRING expired as of the Petition Date and,

321 E. 12TH ST., 1ST FLOOR therefore, the property does not escheat
DES MOINES, IA 50319 to the state under applicable bankruptcy
7 law.

67 MORGAN, JAMES O. 14-10979 —_ Energy Future Holdings 10/27/2014 7931 Undetermined* According to the Debtors’ books and
C/O GOLDSMITH & ASSOCIATES, LLC (CSS) Corp. records, Debtors are not liable for the
ATTN: SYLVIA A GOLDSMITH, PARK asserted claim. The debt that was
WEST BLDG reported to credit agencies was valid
20545 CENTER RIDGE ROAD, SUITE 120 and outstanding at the time of the
ROCKY RIVER, OH 44116 report; the debt has since been cleared

” and is no longer being reported.

68 NEBRASKA STATE TREASURER No Debtor Asserted 09/02/2014 4082 Undetermined* The claim is for unclaimed property;
UNCLAIMED PROPERTY DIVISION however, the dormancy period had not
809 P STREET expired as of the Petition Date and,
LINCOLN, NE 68508-1390 therefore, the property does not escheat

to the state under applicable bankruptcy
law.

* Claim 10036 was modified 12/02/2016 by Debtors’ Seventh Notice Of Claims Satisfied In Full Or In Part (DI. 10302)

* - Indicates claim contains unliquidated and/or undetermined amounts Page 21 of 24

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ENERGY FUTURE HOLDINGS CORP. , et al.

FORTY-FIFTH OMNIBUS (SUBSTANTIVE): EXHIBIT 2 TO EXHIBIT A - No Liability Claims

CASE FILED TOTAL CLAIM REASON FOR PROPOSED
NAME NUMBER _ DEBTOR NAME DATE CLAIM # AMOUNT DISALLOWANCE

69 NEW JERSEY OFFICE OF THE STATE 14-10979 —_ Energy Future Holdings 11/04/2014 9797 Undetermined* The claim is for unclaimed property;
TREASURER (CSS) Corp. however, the dormancy period had not
UNCLAIMED PROPERTY expired as of the Petition Date and,
PO BOX 214 therefore, the property does not escheat
TRENTON, NJ 08695-0214 to the state under applicable bankruptcy

law.

70 NOLAN COUNTY 14-10996  EFH Corporate Services 11/02/2015 12898 4 $2,074.95 Modified amount reflects adjustment
C/O PERDUE BRANDON FIELDER (CSS) Company for the part of the claim for which,
COLLINS MOTT according to the Debtors’ books and
ATIN: ELIZABETH BANDA CALVO records, Debtors are not liable; (1) the
500 EAST BORDER ST., SUITE 640 Debtors believe that liability, if any, is
ARLINGTON, TX 76010 owed by a non-Debtor entity, Oncor

Electric Delivery Company LLC; (2)
rendition penalties which have been
removed per the county appraiser.

71 NOLAN COUNTY 14-11032. Luminant Generation 11/02/2015 12909 5 $233.55 According to the Debtors' books and
C/O PERDUE BRANDON FIELDER (CSS) Company LLC records, Debtors are not liable for the
COLLINS MOTT asserted claim. The claim is for
ATTN: ELIZABETH BANDA CALVO rendition penalties that have been
500 EAST BORDER ST., SUITE 640 removed by the county assessor.
ARLINGTON, TX 76010

72 NORTH CAROLINA DEPT OF STATE 14-10997,  TXU Energy Retail 10/20/2014 5637 $7,007.16 The claim is for unclaimed property;
TREASURER (CSS) Company LLC however, the dormancy period had not

UNCLAIMED PROPERTY PROGRAM
325 NORTH SALISBURY STREET
RALEIGH, NC 27603-1385

* Claim 12898 was modified 12/02/2016 by Debtors’ Seventh Notice Of Claims Satisfied In Full Or In Part (DI. 10302)

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* - Indicates claim contains unliquidated and/or undetermined amounts

Claim 12909 was modified 12/02/2016 by Debtors’ Seventh Notice Of Claims Satisfied In Full Or In Part (DI. 10302)

expired as of the Petition Date and,
therefore, the property does not escheat
to the state under applicable bankruptcy
law.

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ENERGY FUTURE HOLDINGS CORP. et al.

FORTY-FIFTH OMNIBUS (SUBSTANTIVE): EXHIBIT 2 TO EXHIBIT A - No Liability Claims

CASE FILED TOTAL CLAIM REASON FOR PROPOSED
NAME NUMBER _ DEBTOR NAME DATE CLAIM # AMOUNT DISALLOWANCE

73 OKLAHOMA STATE TREASURER 14-10979 —- Energy Future Holdings 09/02/2014 4062 Undetermined* The claim is for unclaimed property;
2300 N LINCOLN BLVD (CSS) Corp. however, the dormancy period had not
RM 217 expired as of the Petition Date and,
OKLAHOMA CITY, OK 73105 therefore, the property does not escheat

to the state under applicable bankruptcy
law.

74 OKLAHOMA STATE TREASURER 14-10997_ TXU Energy Retail 09/02/2014 4063 Undetermined* The claim is for unclaimed property;
ATTN: KEN MILLER (CSS) Company LLC however, the dormancy period had not
2300 N. LINCOLN BLVD., SUITE 217 expired as of the Petition Date and,
OKLAHOMA CITY, OK 73105-4895 therefore, the property does not escheat

to the state under applicable bankruptcy
law.

75 STATE OF CONNECTICUT 14-10979 —_ Energy Future Holdings 10/20/2014 5684 Undetermined* The claim is for unclaimed property;
UNCLAIMED PROPERTY DIVISION (CSS) Corp. however, the dormancy period had not
C/O PULLMAN & COMLEY, ATTN: LIZ expired as of the Petition Date and,
AUSTIN therefore, the property does not escheat
850 MAIN STREET, 8TH FLOOR to the state under applicable bankruptcy
BRIDGEPORT, CT 06601-7006 Jaw.

76 SULPHUR SPRINGS ISD 14-10996 — EFH Corporate Services 09/28/2015 11826 $18,262.51* No liability owed to claimant per a
C/O LINEBARGER GOGGAN BLAIR (CSS) Company review of the claimant’s Proof of Claim,

SAMPSON LLP
ATTN: ELIZABETH WELLER

2777 N. STEMMONS FREEWAY, SUITE
1000

DALLAS, TX 75207

* - Indicates claim contains unliquidated and/or undetermined amounts

the documents attached thereto, and a
reasonable review of the Debtors' books
and records. The Debtors believe that
liability, if any, is owed by a non-
Debtor third-party.

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ENERGY FUTURE HOLDINGS CORP., et al.

FORTY-FIFTH OMNIBUS (SUBSTANTIVE): EXHIBIT 2 TO EXHIBIT A - No Liability Claims

CASE FILED TOTAL CLAIM REASON FOR PROPOSED
NAME NUMBER DEBTOR NAME DATE CLAIM # AMOUNT DISALLOWANCE
77 TITUS COUNTY APPRAISAL DISTRICT 14-11032. Luminant Generation 06/20/2014. 2352 6 $128,374.15 Modified amount reflects adjustment
ATIN: TIM R. TAYLOR, ATTORNEY (CSS) Company LLC for the part of the claim for which,
P.O. BOX 1212 according to the Debtors’ books and
MOUNT PLEASANT, TX 75456 records, Debtors are not liable; the
Debtors believe that liability, if any, is
owed by a non-Debtor entity, Oncor
Electric Delivery Company LLC
78 VALWOOD IMPROVEMENT 14-10996 ~~ EFH Corporate Services 03/23/2015 10029 $1.33 No liability owed to claimant per a
AUTHORITY (CSS) Company review of the claimant’s Proof of Claim,
C/O PERDUE BRANDON FIELDER the documents attached thereto, and a
COLLINS MOTT reasonable review of the Debtors' books
ATTN: ELIZABETH BANDA CALVO and records. The Debtors determined
500 EAST BORDER ST, SUITE 640 that Debtors already paid claimant on
ARLINGTON, TX 76010 account of this claim on 01/29/2014 via
check 1002691270.
79 WEST VIRGINIA STATE TREASURER'S 14-10997 TXU Energy Retail 09/25/2014 4659 $2,373.84* The claim is for unclaimed property;
OFFICE (CSS) Company LLC however, the dormancy period had not
322 70TH ST SE expired as of the Petition Date and,
CHARLESTON, WV 25304-2910 therefore, the property does not escheat
to the state under applicable bankruptcy
law.
TOTAL $29,488,172.98*

° Claim 2352 was modified 12/02/2016 by Debtors’ Seventh Notice Of Claims Satisfied In Full Or In Part (DI. 10302)

* - Indicates claim contains unliquidated and/or undetermined amounts

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